
ON PETITION FOR REHEARING.
Per Curiam.
The law as stated by counsel in their brief upon petition for rehearing is unquestionably sound, but it does not cover and is not applicable to the facts of this case, as we view it.
Undoubtedly, as a general proposition, before authority to draw or agreement to pay or accept can operate as an acceptance of a bill not then existing, the agreement must be such as to identify the bill, and it must be drawn and taken by the holder in pursuance of, and reliance upon this authority. This is true of a single bill, but it is evident that the rule does not and cannot apply in its entirety and strictness to a case like that at bar, where it is claimed the drawer was an agent of the drawee, and was invested with general authority *535to draw not a single bill only, but such bills as he might deem necessary in the course of his business. Our supreme court has said in Posey v. Bank, 24 Colo. 201: “ And where a third party advances money upon authority given to draw generally or for a definite sum, the promise to pay, whether expressed in positive terms or implied from the authority, is held to move directly to the third party who has been induced to part with his money upon the faith of such promise.”
It is obvious that the character of proof relied upon to establish a general authority to draw, or a special authority to draw a single bill, might and generally would be entirely different. The former could be shown by the previous conduct of the parties, while the same evidence might be wholly inadequate to establish the latter.
On June 4, very shortly preceding the drawing of the draft in question, Murdock wired defendants that he had drawn four drafts upon them to the aggregate amount of $375. On the same day, defendants wired to him in reply: “Will pay drafts named, but must be less in future.” Here we think was a clear recognition of the agent’s authority to draw in the past and also in the future, the only condition being that the amounts must be less in the future. But, say counsel, there is no evidence that this message was ever seen by plaintiffs, or that they had any knowledge of its contents or existence. Even if such knowledge was first necessary before defendants could be held liable in a case where plaintiffs relied upon the express authority to the agent to draw generally, and not upon specific authority to draw a single bill, which we do not decide, such precedent knowledge or information as to the telegram was not necessary in this instance to bind the defendants. Outside of this message there were attendant circumstances which with the acts and conduct of the defendants were sufficient to show conclusively an implied promise of defendants to pay, upon which the plaintiffs had a right to rely. It was shown by the testimony of a member of the defendant firm that Murdock was in their employ, that they had presented him with a book containing *536printed blank forms of drafts with the firm name and address printed upon them; that the draft in dispute was written upon one of these blanks, and that they had previously honored and paid other drafts drawn upon them by Murdock in favor of these plaintiffs. Independent, therefore, of the telegram, we think that the. evidence of these circumstances was sufficient to establish the authority of the agent to draw, and the implied promise of defendants to pay the draft. The petition for a rehearing will be denied.
